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  8                      UNITED STATES DISTRICT COURT
  9                   SOUTHERN DISTRICT OF CALIFORNIA
 10   KATHRYN KAILIKOLE, an                   Case No: 3:18-CV-02877-AJB-MSB
 11   individual,
                                              ORDER GRANTING PLAINTIFF
 12                     Plaintiff,            KATHRYN KAILIKOLE AND
                                              DEFENDANT PALOMAR
 13        v.                                 COMMUNITY COLLEGE
                                              DISTRICT’S JOINT MOTION TO
 14
      PALOMAR COMMUNITY                       EXTEND TIME FOR DEFENDANT
 15   COLLEGE DISTRICT, a                     TO RESPOND TO THE COMPLAINT
      governmental entity; and DOES 1
 16   through 25, inclusive,
 17                     Defendants.
 18

 19        Having reviewed the Joint Motion to Extend Time for Defendant Palomar

 20   Community College District to respond to the Complaint and GOOD CAUSE

 21   appearing therefore, IT IS HEREBY ORDERED THAT:

 22        Defendant’s time to file a responsive pleading is extended to January 10, 2019.

 23        IT IS SO ORDERED.

 24

 25
      Dated: January 3, 2019

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                    ORDER GRANTING JOINT MOTION TO EXTEND TIME TO RESPOND
                                              CASE NO. 3:18-CV-02877-AJB-MSB
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                   ORDER GRANTING JOINT MOTION TO EXTEND TIME TO RESPOND
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Case 3:18-cv-02877-AJB-MSB Document 4 Filed 01/03/19 PageID.241 Page 3 of 3



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                            CERTIFICATE OF SERVICE
      FPDOCS 34856676.1
